



















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS







WR-64,131-01






GEORGE HERBERT JONES, JR., Relator



v.



JUDGE, 183rd JUDICIAL DISTRICT COURT, Respondent








ON APPLICATION FOR A WRIT OF MANDAMUS 


FROM HARRIS COUNTY






		Per curiam.



O R D E R




	This is an original application for a writ of mandamus.  Relator contends that he filed
an application for writ of habeas corpus in the 183rd Judicial District Court on June 4, 2002,
in cause number 0623665 but more than thirty-five days have elapsed and the application
has not been forwarded to the Court of Criminal Appeals.  Relator also alleges that an order
designating issues was entered July 2, 2002.

	It is this Court's opinion that additional information is required before a decision can
be reached on the motion for leave to file the instant action.  The respondent, Judge of the
183rd Judicial District Court of Harris County, is ordered to file a response with this Court
within thirty days by having the district clerk submit the record on such habeas corpus
application or by setting out the reasons that findings have not been made in the period
since the order designating issues was entered.  This application for writ of mandamus is
held in abeyance pending compliance with this order.

	IT IS SO ORDERED this the 26th day of April, 2006.


DO NOT PUBLISH


